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[EDITORS' NOTE:  THIS PAGE CONTAINS HEADNOTES. HEADNOTES ARE NOT AN OFFICIAL PRODUCT OF THE COURT, THEREFORE THEY ARE NOT DISPLAYED.] *Page 593 
EARL, Ch. J., reads for affirmance.
All concur, except MAYNARD, J., taking no part.
Judgment affirmed.